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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION


HOWARD COHAN,

                   Plaintiff,

v.                                            Case No: 6:22-cv-1063-PGB-DCI

JED - FRESH, LLC,

                   Defendant.
                                     /

                                     ORDER

      This cause is before the Court on the Plaintiff’s Notice of Voluntary Dismissal

With Prejudice, filed July 19, 2022 (Doc. 11) before the Defendant answered or filed

a summary judgment motion. Thus, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i), this filing was self-executing. See Anago Franchising, Inc. v. Shaz,

677 F.3d 1272, 1278 (11th Cir. 2012). Plaintiff’s claims against Defendant JED –

FRESH, LLC are DISMISSED WITH PREJUDICE. The Clerk of Court is

DIRECTED to close the file.

      DONE AND ORDERED in Orlando, Florida on July 20, 2022.
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Copies furnished to:

Counsel of Record
Unrepresented Parties




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